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McGREGOR W. SCOTT

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Attorneys for Plaintiff

IN THE UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA, CR S 00-345-FCD
. Plaintiff,

RELEASE OF LIEN

Vv. FOR FINE/RESTITUTION

SSN: XXX-XX-XXXX

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RICHARD SHEARER, )
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)

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Defendant. )

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TO THE CLERK OF THE ABOVE-ENTITLED COURT:

Release of the judgment lien obtained herein is hereby
acknowledged, and you are instructed to enter a Release of Lien
for Fine/Restitution. A Notice of Lien For Fine/Restitution was
entered by the Recorder of Siskiyou County, Doc-XX-XXXXXXX, on
December 10, 2002. The Notice of Lien For Fine/Restitution is
hereby acknowledged as released as to Defendant Richard Shearer.

DATED: VAN OS McGREGOR W. SCOTT
United? States Attorney

 

By:

 

NaI ove
BOBBIE J., MONTOYA
Assistant U.S. Attorney

344.FIN

 
